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               Exhibit 12.2
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          Infringement Claim Chart for U.S. Pat. No. US9456086B1 v. YouTube (“Defendant”)


    Claim11                                              Evidence
11. A method for   The YouTube Customer Service system with intelligent routing performs a method of
matching a first   matching a first entity with a second entity.
entity with a
second entity,     For example, the YouTube Customer Service system matches an incoming call, which is
comprising:        the first entity, to a call center agent, which is the second entity.




                   Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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storing a           The YouTube Customer Service system with intelligent routing stores a plurality of
plurality of        multivalued scalar data representing inferential targeting parameters for the first entity.
multivalued
scalar data         For example, the YouTube Customer Service system uses one or more of: interactive
representing        voice response (IVR), keypad menus, caller identification and customer relationship
inferential         management (CRM) information to determine the nature of a call and thereby, the
targeting           required characteristics of a call center agent to handle the call. These required agent
parameters for      characteristics include one or more of skills and respective skill levels, the agent’s
the first entity;   location, prior call history with calls of the same nature. These required characteristics
                    are represented by a plurality of multivalued scalar data, which is stored and used by the
                    YouTube Customer Service system, as inferential, or intelligent, targeting parameters for
                    routing the call to an appropriate call center agent.




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               Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube

storing a      The YouTube Customer Service system with intelligent routing stores a plurality of
plurality of   multivalued scalar data of each of the plurality of second entities, representing




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multivalued        inferential targeting parameters for a plurality of second entities.
scalar data of
each of the        For example, the YouTube Customer Service system stores the respective characteristics
plurality of       of multiple call center agents. These agent characteristics include one or more of skills
second entities,   and respective skill levels, the agent’s location, and the agent’s prior history with
representing       handling calls of a specific nature. The agent characteristics are represented by a
inferential        plurality of multivalued scalar data and are used, by the YouTube Customer Service
targeting          system, as inferential targeting parameters for routing the call to an appropriate call
parameters for a   center agent.
plurality of
second entities;




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                   Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube

performing         The YouTube Customer Service system with intelligent routing performs, using an
using an           automated processor and based on at least the stored plurality of multivalued scalar
automated          data, an economic optimization. The optimization seeks to maximize a normalized
processor,         economic surplus of a respective mutually exclusive match of the first entity with the
based on at        second entity, while at the same time considering an opportunity cost of the
least the stored   unavailability of the second entity as a result of the match.
plurality of
multivalue         For example, based on the required agent characteristics for handing the call and the
scalar data, an    respective characteristics of multiple call center agents, the YouTube Customer Service
economic           system selects an appropriate agent for handling the call. This selection is made by
optimization       making, for each of the multiple agents, a cost-benefit analysis of a prospective
seeking to         matching of the call with the particular agent. The cost-benefit for the prospective match
maximize a         is based, at least in part, on the required agent characteristics and the characteristics of
normalized         the particular agent. This prospective match is mutually exclusive in the sense that the
economic           call is only assigned to the particular agent and the agent to this particular call for the




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surplus of a          duration of the call. Therefore, the cost-benefit analysis also accounts for the fact that
respective            the agent cannot handle other calls while handling this call. The agent associated with
mutually              the prospective match that has the maximum benefit while considering the costs, which
exclusive match       is the so-called normalized economic surplus, is selected by the CCAI platform i.e.,
of the first entity   YouTube Customer Service system to handle the call.
with the second
entity, in
conjunction with
an opportunity
cost of the
unavailability of
the second
entity as a result
of the match;
and




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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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               Source: How does Google Cloud Contact Center AI work? - WebsiteBuilderInsider.com




               Source: Contact Center AI (CCAI) Platform | Google Cloud
outputting a   The YouTube Customer Service system with intelligent routing outputs a signal in
signal in      dependence on the optimization.




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dependence on
the             For example, the YouTube Customer Service system generates and outputs a signal for
optimization.   connecting the call with the matched agent, whereby the exact nature of the signal
                depends on the matched agent, so as to connect that agent to the call.




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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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